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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CHLOE SAS, et al., Case No: 11-CV-04147 GAF(MANx)
PLAINTIFFS’ NOTICE OF

Plaintiffs — Counter-Defendants, : MOTION TO COMPEL

DEFENDANTS’ RESPONSES TO
VS. PLAINTIFFS’ REQUESTS FOR

RMA’ PRODUCTION FO
SAAEES CO ex al, TION JURISDICTIONAL DISCOVERY

FILED UNDER SEAL

Defendants — Counter-Claimants. Discovery Cutoff: August 31, 2012
Hearing: August 21, 2012

Time: 10:00 AM

Courtroom: 580

 

 

 

NOTICE OF MOTION TO COMPEL Case No: 11-CV-04147 GAF(MANx)

 
 

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TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
RECORDS:

PLEASE TAKE NOTICE that on August 21, 2012, or as soon thereafter as
the matter may be heard, in Courtroom 580 of the above-referenced court, Plaintiffs
Chloé SAS, Alfred Dunhill Limited, Officine Panerai AG, Montblanc-Simplo
GmbH, Cartier International A.G., and Lange Uhren GmbH will and do hereby
move, pursuant to Rule 34 of the Federal Rules of Civil Procedure and Local Rule
37-2, for an Order compelling Defendants Sawabeh Information Services Co.,
TradeKey (Pvt) Ltd., Waleed Abalkhail, and Junaid Mansoor (“Defendants”) to
produce documents in response to Plaintiffs’ First Set of Requests for Production.

Plaintiff brings this motion based on this Notice of Motion, the attached Joint
Stipulation and the exhibits thereto, the record in this action, and any additional
matters of which the Court properly may take judicial notice or that may otherwise
be presented to the Court before or at the hearing on this matter.

This motion is made following a letter from Plaintiffs enumerating the
deficiencies with Defendants’ responses and requesting a meet and confer on July
9, 2012 and a conference of counsel pursuant to Local Rule 37-1, which took place
on July 19, 2012. At present no scheduling order has been issued in this case
setting a pretrial conference or trial date, however, the Order setting the deadline for

jurisdictional discovery as August 31, 2012 is attached to the Joint Stipulation as
Exhibit E.

Dated: July 31, 2012 Respectfully submitted,

JONES DAY

  

 

(Sdsan M. Kayser

NOTICE OF MOTION TO COMPEL Case No: 11-CV-04147 GAF(MANx)

 

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Case 2:11;

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PROOF OF SERVICE
I am a citizen of the United States and employed in Los Angeles County,
California. I am over the age of eighteen years and not a party to the within-entitled
action. My business address is 555 South Flower Street, Fiftieth Floor,
Los Angeles, California 90071-2300. On July 31, 2012, I served a copy of the

within document(s):

PLAINTIFFS’ NOTICE OF MOTION TO COMPEL DEFENDANTS’
RESPONSES TO PLAINTIFFS’ REQUEST FOR PRODUCTION FOR
JURISDICTIONAL DISCOVERY

[x] by transmitting via e-mail or electronic transmission the document(s)
listed above to the person(s) at the e-mail address(es) set forth below.

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Tyler G. Newby, Esq.
tnewby@fewwick.com

Leslie A. Kramer, Esq.
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Fenwick & West LLP

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I am readily familiar with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the
U.S. Postal Service on that same day with postage thereon fully prepaid in the
ordinary course of business. I am aware that on motion of the party served, service
is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing an affidavit.

I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed on July 31, 2012, at Los Angeles, California.

Now De CUE

Grace M. Salter

LAI-3163316v1 Proof of Service

 

 

 
